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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

LASHAWN SPRUELL,                                                :
                                                                :
                               Plaintiff,                       :
                                                                :       Civil Action No. 17-809
                 v.                                             :
                                                                :
KIMBERLY BARKLEY, et al.,                                       :       JURY TRIAL DEMANDED
                                                                :
                               Defendants,                      :
                                                                :

                           PART 1: CONSENT TO JURISDICTION BY
                            UNITED STATES MAGISTRATE JUDGE

        In accordance with the provisions of Section 636(c)(1) of Title 28, United States
Code, the undersigned counsel of record for defendant, Kimberly Barkley in the above
captioned civil matter voluntarily consent to have a United States Magistrate Judge
conduct any and all further proceedings in the case, including trial and entry of final
judgment, with direct review by the United States Court of Appeals for the Third Circuit
if an appeal is filed.

Date: _June 14, 2018                                           _/s/ Timothy Mazzocca____
                                                               Signature

                                             Print Name:       Timothy Mazzocca

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                           PART 2: DISTRICT JUDGE OPTION

       Pursuant to Section 636(c)(2) of Title 28, United States Code, I acknowledge the
availability of a United States Magistrate Judge but I elect to have this case randomly
assigned to a United States District Judge.

Date: __________________                                       ________________________
                                                               Signature

                                             Print Name:       Timothy Mazzocca
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                            CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the within Consent to Jurisdiction

was served upon the following individual via first class mail, postage prepaid:

David A. Berlin, Esq.
Weisberg Law
7 South Morton Avenue
Morton, PA 19070

                                             By:     /s/ Timothy Mazzocca
                                                     TIMOTHY MAZZOCCA
                                                     Deputy Attorney General

OFFICE OF ATTORNEY GENERAL
1251 Waterfront Place
Mezzanine Level
Pittsburgh, PA 15222

Date: June 14, 2018
